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                         IN THE UNITED STATES DISTRICT COURT
 8                           FOR THE DISTRICT OF ARIZONA
 9    Paul A. Isaacson, M.D., on behalf of
      himself and his patients, et al.,
10                                                   Case No. 2:21-CV-01417-DLR
                            Plaintiffs,
11                                                   [PROPOSED] ORDER GRANTING
12           v.                                      PLAINTIFFS’ RENEWED MOTION
                                                     FOR PRELIMINARY INJUNCTION
13    Mark Brnovich, Attorney General of
      Arizona, in his official capacity; et al.,
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                            Defendants.
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            This matter having come before the Court on Plaintiffs’ Renewed Motion for a
17
     Preliminary Injunction, having considered the Motion and supporting Memorandum of
18   Law, and the declarations filed in support thereof, the Court finds and concludes that
19   Plaintiffs are likely to succeed on the merits of their claims that the Reason Scheme, S.B.
20   1457, 55th Leg., 1st Reg. Sess. (Ariz. 2021), §§ 2, 10, 11, and 13 (codified at A.R.S. §§
21   13-3603.02, 36-2157, 36-2158(A)(2)(d), 36-2161(A)(25)), is unconstitutionally vague on
22   its face. The Court further finds and concludes that Plaintiffs are likely to suffer
23   irreparable harm in the absence of injunctive relief; the balance of equities is in their
24   favor; and a preliminary injunction is in the public interest.
25          Accordingly, IT IS HEREBY ORDERED that Plaintiffs’ motion is granted.
26   During the pendency of this case, Defendants are preliminarily enjoined from enforcing
27   the Reason Scheme. Defendants are further enjoined from retroactively enforcing any
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 1   provision of the Reason Scheme based on conduct occurring during the time that this
 2   preliminary injunction is in effect.
 3          Pursuant to Federal Rule of Civil Procedure 65(c), the Court finds that a bond is
 4   unnecessary and that requiring a bond would not be in the public interest under the
 5   circumstances of this litigation.
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 7   DATED this         day of                                    , 20          .
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